                                                                             08/26/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA                        Case Number: DA 24-0037



                             No. DA 24-0037

STATE OF MONTANA,

           Plaintiff and Appellee,

     v.

ANDREW DAVID LARSON,

           Defendant and Appellant.


                                ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including September 30, 2024, within which to prepare,

file, and serve Appellant’s opening brief on appeal.




                                                              Electronically signed by:
                                                                    Mike McGrath
                                                       Chief Justice, Montana Supreme Court
                                                                   August 26 2024
